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     Attorney for Defendant
 5   MARIA DEL SOCORRO MEDRANO
 6
                                  UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,        )           Case No. 1: 05-CR-00350 LJO
10                                    )
            Plaintiff,                )            APPLICATION FOR ORDER EXONERATING
11                                    )            BOND AND FOR RECONVEYANCE OF
                 v.                   )            REAL PROPERTY AND ORDER THEREON
12                                    )
     MARIA DEL SOCORRO MEDRANO, )
13                                    )
            Defendant.                 )           HONORABLE LAWRENCE J. O’NEILL
14   _________________________________)
15
16          Defendant, MARIA DEL SOCORRO MEDRANO, by and through her counsel, John F.
17   Garland, hereby moves the Court for an order exonerating the bond and for reconveyance of the
18   real property in the above captioned case.
19          On September 20, 2005 defendant Maria Del Socorro Medrano was arrested pursuant to
20   a Warrant of Arrest issued by this Court for charges in the above captioned case. On September
21   28, 2005 United States Magistrate Judge Dennis L. Beck ordered the release of Ms. Medrano,
22   setting conditions of pretrial supervision, and a $50,000 property bond. Ms. Medrano was
23   released from custody that date on a $50,000 unsecured appearance bond to be replaced by the
24   $50,000 property bond within two weeks. On October 12, 2005 Magistrate Judge signed an
25   Order to Continue Date to Post Property Bond to October 26, 2005. On October 27, 2006
26   Magistrate Judge Beck signed an Order to Continue Date to Post Property Bond to November 10,
27   2005. On November 7, 2005 all property bond documents were submitted to the United States
28   Attorney’s Office for review and approval. On or about November 7, 2005 a Straight Note


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 1   (Secured By Deed Of Trust) in the amount of $50,000, and a Deed of Trust were delivered to the
 2   Clerk of the Court by Javier Z. Medrano and Maria D. Medrano.
 3          On January 16, 2007 MARIA DEL SOCORRO MEDRANO appeared before United
 4   States District Judge Anthony W. Ishii and entered a plea of guilty to Count 1 of an Information.
 5   On April 6, 2007 this Court sentenced Ms. Medrano to a term of 30 months imprisonment and
 6   ordered her to surrender to the federal institution designated by the United States Bureau of
 7   Prisons on or before 2:00 p.m. on May 17, 2007.
 8          On May 17, 2007 MARIA DEL SOCORRO MEDRANO surrendered herself to the
 9   Federal Correctional Institution in Dublin, California to begin service of the 30 month sentence
10   imposed by this Court. MARIA DEL SOCORRO MEDRANO, having surrendered to the
11   designated federal institution as ordered, hereby requests the Court exonerate the bond and order
12   the Clerk of the Court to reconvey title to the real property securing the property bond. Assistant
13   United States Attorney Kevin P. Rooney does not oppose this application.
14 Dated: May 26, 2007                                      Respectfully submitted,
15
                                                             /s/ John F. Garland
16                                                             John F. Garland
                                                            Attorney for defendant
17                                                        MARIA DEL SOCORRO MEDRANO
18
                                          ORDER
19
20          IT IS HEREBY ORDERED that the property bond posted by JAVIER Z. MEDRANO
21 and MARIA D. MEDRANO, secured by the real property located in Winton, Merced County,
22 California, is exonerated and the Clerk of the Court is directed to reconvey to JAVIER Z.
23 MEDRANO and MARIA D. MEDRANO, the Deed of Trust recorded on November 7, 2005 in
24 the Merced County Recorder as Document No. 2005-088955.
25 IT IS SO ORDERED.
26 Dated:      May 31, 2007                          /s/ Lawrence J. O'Neill
   b9ed48                                        UNITED STATES DISTRICT JUDGE
27
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